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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC                        §
                                                  §
                                                           Case No. 2:16-CV-00450-JRG
       v.                                         §
                                                           Lead Consolidated Case
                                                  §
CITIBANK, N.A.                                    §

                              AMENDED DISCOVERY ORDER

       After a review of the pleaded claims and defenses in this action, in furtherance of the

management of the Court’s docket under Federal Rule of Civil Procedure 16, and after receiving

the input of the parties to this action, it is ORDERED AS FOLLOWS:

1.     Initial Disclosures.        In lieu of the disclosures required by Federal Rule of Civil

       Procedure 26(a)(1), each party shall disclose to every other party the following

       information:

       (a)    the correct names of the parties to the lawsuit;

       (b)    the name, address, and telephone number of any potential parties;

       (c)    the legal theories and, in general, the factual bases of the disclosing party’s claims

              or defenses (the disclosing party need not marshal all evidence that may be

              offered at trial);

       (d)    the name, address, and telephone number of persons having knowledge of

              relevant facts, a brief statement of each identified person’s connection with the

              case, and a brief, fair summary of the substance of the information known by any

              such person;

       (e)    any indemnity and insuring agreements under which any person or entity carrying

              on an insurance business may be liable to satisfy part or all of a judgment entered
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               in this action or to indemnify or reimburse for payments made to satisfy the

               judgment;

       (f)     any settlement agreements relevant to the subject matter of this action; and

       (g)     any statement of any party to the litigation.

2.     Disclosure of Expert Testimony. A party must disclose to the other parties the identity

       of any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

       703 or 705, and:

       (a)     if the witness is one retained or specially employed to provide expert testimony in

               the case or one whose duties as the party’s employee regularly involve giving

               expert testimony, provide the disclosures required by Federal Rule of Civil

               Procedure 26(a)(2)(B) and Local Rule CV-26; and

       (b)     for all other such witnesses, provide the disclosure required by Federal Rule of

               Civil Procedure 26(a)(2)(C).

3.     Additional Disclosures. Without awaiting a discovery request,1 each party will make the

       following disclosures to every other party:

       (a)     provide the disclosures required by the Patent Rules for the Eastern District of

               Texas with the following modifications to P.R. 3-1 and P.R. 3-3:

                      P.R. 3-1(g): If a party claiming patent infringement asserts that a
                      claim element is a software limitation, the party need not comply
                      with P.R. 3-1 for those claim elements until 30 days after source
                      code for each Accused Instrumentality is produced by the opposing
                      party. Thereafter, the party claiming patent infringement shall
                      identify, on an element-by-element basis for each asserted claim,
                      what source code of each Accused Instrumentality allegedly
                      satisfies the software limitations of the asserted claim elements.


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         The Court anticipates that this disclosure requirement will obviate the need for requests
for production.



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                       P.R. 3-3(e): If a party claiming patent infringement exercises the
                       provisions of P.R. 3-1(g), the party opposing a claim of patent
                       infringement may serve, not later than 30 days after receipt of a
                       P.R. 3-1(g) disclosure, supplemental “Invalidity Contentions” that
                       amend only those claim elements identified as software limitations
                       by the party claiming patent infringement.

      (b)      produce or permit the inspection of all documents, electronically stored

               information, and tangible things in the possession, custody, or control of the party

               that are relevant to the pleaded claims or defenses involved in this action, except

               to the extent these disclosures are affected by the time limits set forth in the Patent

               Rules for the Eastern District of Texas; and

      (c)      provide a complete computation of any category of damages claimed by any party

               to the action, and produce or permit the inspection of documents or other

               evidentiary material on which such computation is based, including materials

               bearing on the nature and extent of injuries suffered, except that the disclosure of

               the computation of damages may be deferred until the time for Expert Disclosures

               if a party will rely on a damages expert.

4.    Protective Orders. The Court will enter the parties’ Agreed Protective Order.

5.    Discovery Limitations.        The discovery in this cause is limited to the disclosures

      described in Paragraphs 1-3 together with:

      a)    Plaintiff may serve up to 10 common interrogatories as to all consolidated

            Defendants, and an additional 15 interrogatories separately on each Defendant. The

            consolidated Defendants may collectively serve up to 10 common interrogatories on

            Plaintiff, and each Defendant may serve separately up to 15 additional

            interrogatories on Plaintiff.




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       b) There is no limit on the number of requests for admission the parties may serve to

            establish the authenticity of documents. Requests for admission directed to document

            authentication shall be clearly denoted as such. In addition, Plaintiff may serve up to

            30 common requests for admission as to all consolidated Defendants and an

            additional 15 requests for admission separately on each Defendant. Similarly, the

            consolidated Defendants may collectively serve up to 30 common requests for

            admission on Plaintiff, and each Defendant may serve separately up to 15 requests

            for admission on Plaintiff.

       c)   Depositions of 30(b)(6) representatives and/or employees of the parties. No one

            entity or its employees may be deposed more than 30 hours collectively.

       d) There are no limits on the number of depositions upon written questions of

            custodians of business records for third parties taken pursuant to Rule 31;

       e)   60 hours of nonparty depositions per party.

       f)   Each party may take up to seven (7) hours of deposition testimony of an opposing

            party’s expert for each issue (e.g., validity, infringement, damages) addressed by that

            expert in their report.

       Unless otherwise agreed, the daily limit of seven (7) hours shall apply to all depositions.

Time toward the daily limit of seven (7) hours will count whether used in direct examination or

cross-examination of any witness. Unless otherwise agreed, depositions of defendants and their

employees shall take place in the deponent’s city of residence and at a mutually agreeable time

for the parties. Counsel should confer in advance to schedule depositions at mutually convenient

times and places.




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6.    Privileged Information.       There is no duty to disclose privileged documents or

      information. However, the parties are directed to meet and confer concerning privileged

      documents or information after the Status Conference. By the deadline set in the Docket

      Control Order, the parties shall exchange privilege logs identifying the documents or

      information and the basis for any disputed claim of privilege in a manner that, without

      revealing information itself privileged or protected, will enable the other parties to assess

      the applicability of the privilege or protection. Any party may move the Court for an

      order compelling the production of any documents or information identified on any other

      party’s privilege log. If such a motion is made, the party asserting privilege shall respond

      to the motion within the time period provided by Local Rule CV-7. The party asserting

      privilege shall then file with the Court within 30 days of the filing of the motion to

      compel any proof in the form of declarations or affidavits to support their assertions of

      privilege, along with the documents over which privilege is asserted for in camera

      inspection.

7.    Signature. The disclosures required by this Order shall be made in writing and signed by

      the party or counsel and shall constitute a certification that, to the best of the signer’s

      knowledge, information and belief, such disclosure is complete and correct as of the time

      it is made. If feasible, counsel shall meet to exchange disclosures required by this Order;

      otherwise, such disclosures shall be served as provided by Federal Rule of Civil

      Procedure 5. The parties shall promptly file a notice with the Court that the disclosures

      required under this Order have taken place.

8.    Duty to Supplement. After disclosure is made pursuant to this Order, each party is

      under a duty to supplement or correct its disclosures immediately if the party obtains




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      information on the basis of which it knows that the information disclosed was either

      incomplete or incorrect when made, or is no longer complete or true.

9.    Discovery Disputes.

      (a)    Except in cases involving claims of privilege, any party entitled to receive

             disclosures (“Requesting Party”) may, after the deadline for making disclosures,

             serve upon a party required to make disclosures (“Responding Party”) a written

             statement, in letter form or otherwise, of any reason why the Requesting Party

             believes that the Responding Party’s disclosures are insufficient. The written

             statement shall list, by category, the items the Requesting Party contends should

             be produced. The parties shall promptly meet and confer. If the parties are

             unable to resolve their dispute, then the Responding Party shall, within 14 days

             after service of the written statement upon it, serve upon the Requesting Party a

             written statement, in letter form or otherwise, which identifies (1) the requested

             items that will be disclosed, if any, and (2) the reasons why any requested items

             will not be disclosed. The Requesting Party may thereafter file a motion to

             compel.

      (b)    An opposed discovery related motion, or any response thereto, shall not exceed 7

             pages. Attachments to a discovery related motion, or a response thereto, shall not

             exceed 5 pages. No further briefing is allowed absent a request or order from the

             Court.

      (c)    Prior to filing any discovery related motion, the parties must fully comply with

             the substantive and procedural conference requirements of Local Rule CV-7(h)

             and (i). Within 72 hours of the Court setting any discovery motion for a hearing,




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             each party’s lead attorney (see Local Rule CV-11(a)) and local counsel shall meet

             and confer in person or by telephone, without the involvement or participation of

             other attorneys, in an effort to resolve the dispute without Court intervention.

      (d)    Counsel shall promptly notify the Court of the results of that meeting by filing a

             joint report of no more than two pages. Unless excused by the Court, each party’s

             lead attorney shall attend any discovery motion hearing set by the Court (though

             the lead attorney is not required to argue the motion).

      (e)    Any change to a party’s lead attorney designation must be accomplished by

             motion and order.

      (f)    Counsel are directed to contact the chambers of the undersigned for any “hot-line”

             disputes before contacting the Discovery Hotline provided by Local Rule CV-

             26(e). If the undersigned is not available, the parties shall proceed in accordance

             with Local Rule CV-26(e).

10.   No Excuses. A party is not excused from the requirements of this Discovery Order

      because it has not fully completed its investigation of the case, or because it challenges

      the sufficiency of another party’s disclosures, or because another party has not made its

      disclosures. Absent court order to the contrary, a party is not excused from disclosure

      because there are pending motions to dismiss, to remand or to change venue.

11.   Filings. Only upon request from chambers shall counsel submit to the court courtesy

      copies of any filings.

12.   Proposed Stipulations by the Parties Regarding Discovery.

      (a)    Privilege Logs. No party shall be required to log any privileged documents

             and/or communications created on or after the date this lawsuit was commenced.




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     (b)   Experts. The parties agree that the following materials shall not be subject to

           discovery in this litigation: (a) draft expert reports; (b) notes, outlines, and any

           other materials used to prepare any draft expert report; (c) communications and

           conversations between counsel and testifying or consulting experts, unless such

           conversations or communications are relied upon as a basis for any opinions

           provided in any expert report or expert testimony; (d) information, analyses,

           opinions, or other materials from any outside consultant or expert, unless such

           information, analyses, opinions, or other materials are relied upon as a basis for

           any opinions provided in an expert report or expert testimony. Materials,

           communications, and other information exempt from discovery under this

           paragraph shall be treated as attorney-work product privileged but need not be

           logged on a privilege log. This provision does not change the existing protections

           for expert discovery and exceptions thereto set forth in Fed. R. Civ. P. 26(b)(4).

     (c)   Service. The parties agree to electronic service of all correspondence, documents

           filed under seal, written discovery requests, and responses to written discovery

           requests (unless the volume of electronic information makes such delivery

           impractical). The parties agree that service by email before midnight local time

           where the court is located shall be considered timely served that day in

           compliance with Local Rule CV-5(a)(3)(C-D).

     (d)   ESI. Before the parties engage in email discovery or requests for electronically

           stored information (“ESI”), the parties shall meet-and-confer and submit an

           agreed ESI order to be entered by the Court.




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      (e)     The parties agree that the disclosure of information under Paragraph 3 above shall

              be made on a rolling basis, but in no case less than one month before the due date

              of Disclosures for Expert Witnesses by the Party with the Burden of Proof.

13.   Standing Orders. The parties and counsel are charged with notice of and are required to

      fully comply with each of the Standing Orders of this Court. Such are posted on the

      Court’s website at http://www.txed.uscourts.gov/page1.shtml?location=info:judge&judge=17.

      The substance of some such orders may be included expressly within this Discovery

      Order, while others (including the Court’s Standing Order Regarding Protection of

      Proprietary and/or Confidential Information to Be Presented to the Court During Motion

      and Trial Practice) are incorporated herein by reference. All such standing orders shall be

      binding on the parties and counsel, regardless of whether they are expressly included

      herein or made a part hereof by reference.



            So Ordered this
            Aug 15, 2016




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